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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ABINGTON CONSTRUCTION, INC.,                                Case No.: 23-cv-2485-GRB-LGD

                              Plaintiff,
                                                            NOTICE OF
        -against-                                           APPEARANCE

M-BOSS, INC., G.J.P. ENTERPRISES, INC. d/b/a
American Decorative Ceilings, and WILLIAM PERK,
JR.,

                              Defendants.


       Jennifer Hurley McGay, a partner of LEWIS JOHS AVALLONE AVILES, LLP, attorneys

for Defendant, G.J.P. ENTERPRISES, INC. d/b/a American Decorative Ceilings, hereby appears

and asks that she be added to the list of e-filers in this case (jhmcgay@lewisjohs.com) of those

receiving notices.

Dated: Islandia, New York
       June 16, 2023


                                            LEWIS JOHS AVALLONE AVILES, LLP
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                                            By: ________________________________
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